                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


BRAD SIMENZ,

                      Plaintiff,
vs.
                                                          Case No.: 07-C-0601
AMERIHOME MORTGAGE COMPANY, L.L.C.,                       Hon. Lynn Adelman

                       Defendant.


 DEFENDANT’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION TO REMAND


                                       INTRODUCTION

       The Plaintiff has filed not one, but two, Motions to Remand this case to state court. The

first motion was filed on July 30, 2007 (“First Motion to Remand”). The Plaintiff only addressed

Section 1332(d)(2) in his First Motion to Remand, claiming that the Amerihome has not proven

that this case meets the $5,000,000 amount in controversy requirement for the removal of a class

action. The Plaintiff then apparently decided that his first brief on the Motion to Remand was

insufficient, so he filed a second, untimely Motion to Remand on August 9, 2007, asserting new

and completely different grounds for remand, including challenging, for the first time,

Amerihome’s right to remove under Sections 1332(d)(3) and 1332(d)(4) (“Second Motion to

Remand”). This brief is intended to respond to the Plaintiff’s First Motion to Remand only.

Amerihome will then file a second brief in opposition to the Plaintiff’s Second Motion to

Remand in accordance with the timeline set forth in the local rules, responding to the new and

completely different grounds for remand that were asserted by the Plaintiff in his Second Motion

to Remand.




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          Case 2:07-cv-00601-LA Filed 08/22/07 Page 1 of 4 Document 28
                                          ARGUMENT

I.     The Allegations of the Plaintiff’s Complaint Prove that the $5,000,000 Amount in
       Controversy Requirement Has Been Met.

       One of the first requirements that has to be met before a class action can be removed

from state court to federal court is that the matter in controversy must “exceed the sum or value

of $5,000,000, exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2). The “claims of the

individual class members [are] aggregated to determine whether the matter in controversy

exceeds the sum or value of $5,000,000, exclusive of interest and costs.” 28 U.S.C. §

1332(d)(6). Both compensatory and punitive damages are taken into account in determining

whether the jurisdictional amount in controversy has been established. Sharp Elec. Corp. v.

Copy Plus, Inc., 939 F.2d 513 (7th Cir. 1991) (citing Bell v. Preferred Life Society, 320 U.S. 238,

240 (1943) (“[w]here both actual and punitive damages are recoverable under a complaint each

must be considered to the extent claimed in determining the jurisdictional amount.”).

Additionally, attorneys’ fees up to the time of removal also count toward the jurisdictional

amount. See Gardynski-Leschuck v. Ford Motor Co., 142 F.3d 955, 959 (7th Cir. 1998).

       Here, the Plaintiff has alleged in his Complaint that he is entitled to recover: (1) an

amount equal to the greater of the following: (a) twice the amount of the cost of the loan

origination connected with the loan transaction, not to exceed $2,000 for each violation; (b)

actual damages, including any incidental and consequential damages, which each person

sustained because of the violation; (2) the aggregate amount of costs and expenses which the

court determines are reasonably incurred by the person in connection with the action, together

with reasonable attorneys’ fees; and (3) punitive damages. Compl. ¶ 3, 5, 41, 42. The Plaintiff

also claims in his Complaint that he is representing a class of which there are not less than 1,000

members. Compl. ¶ 5.



QBMKE\6165334.1                        -2-
          Case 2:07-cv-00601-LA Filed 08/22/07 Page 2 of 4 Document 28
       Taking the Plaintiff’s allegations as true (although Amerihome disputes all allegations of

liability), this case meets the $5,000,000 jurisdictional amount in controversy. The Plaintiff

alleges that there are over 1,000 members of the class and that each class member has the

potential to recover damages of $2,000. Therefore, the Plaintiff has alleged that the class is

entitled to recover $2,000,000 in compensatory damages. Additionally, the Plaintiff has alleged

the right to recover punitive damages. According to the United States Supreme Court, a punitive

damages multiple in excess of single digits between punitive and compensatory damages is

presumptively unconstitutional. See State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,

410 (2003). In this case, the multiplier between compensatory and punitive damages only needs

to be 1.5 or $3,000,000 in order to reach the $5,000,000 jurisdictional threshold. Because this is

alleged as a possibility, although it is disputed, the $5,000,000 amount in controversy has been

met based upon the compensatory and punitive damages plead in the Complaint, not to mention

the claim for attorneys’ fees incurred by the Plaintiff up until the time of removal, which also

count toward the determination of the amount in controversy. Accordingly, this case was

eligible to be removed from state court to federal court.

                                         CONCLUSION

       For the foregoing reasons, Amerihome respectfully requests that this Court deny the

Defendant’s First Motion to Remand.




QBMKE\6165334.1                         -3-
           Case 2:07-cv-00601-LA Filed 08/22/07 Page 3 of 4 Document 28
       Dated this 22nd day of August, 2007.

                                              QUARLES & BRADY LLP


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QBMKE\6165334.1                        -4-
          Case 2:07-cv-00601-LA Filed 08/22/07 Page 4 of 4 Document 28
